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                    Exhibit D
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                                             Order processing        Filed
                                                              and payouts    04/28/22
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        Order processing and payouts

        Buyer cancellations
        Buyers will have two hours to cancel after purchasing an app or game from Google Play. After this
        cancellation period expires, Google automatically charges the card and initiates payments to your
        account based on the applicable payout schedule.



        Monthly payouts and reporting
        Any orders processed, refunded, or charged-back from the 1st of a given month to the end of the
        month will get paid out around the 15th of the following month. Note that it may take several days for
        your bank to credit your account. To learn more about turnaround time for electronically deposited
        funds, please contact your financial institution.



        Locations that receive payouts via wire transfer
        In certain locations, Google Play merchants will receive payouts through a wire transfer from Google.
        For more information, go to receiving payouts via wire transfer.



        Payout timelines and minimums
        • The Payments profile       page (Setup > Payments profile) in Play Console is not updated in real time
           and will update within 24 hours of a payout.
        • Google doesn't initiate deposits on weekends or banking holidays. For example, if you charge an
           order on a Thursday, Friday, or Saturday, your deposit will be initiated on Monday. If Monday is a
           banking holiday, your deposit will be initiated on Tuesday.
        • Your earned balance at the time of payout must meet a minimum, based on how you receive payouts:
          • Merchants who receive local-currency payouts: US$1
          • Merchants who receive USD wire-transfer payouts: US$100




                                                           Need more help?
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https://support.google.com/googleplay/android-developer/answer/137997?hl=en#:~:text=Any orders processed%2C refunded%2C or
